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�AO 154 (10/03) Substitution of Attorney


                                           UNITED STATES DISTRICT COURT
                                                                District of                                        Columbia

                      United States                                          CONSENT ORDER GRANTING
                                              Plaintiff (s),                 SUBSTITUTION OF ATTORNEY
                             V.
                    MARK SAHADY                                              CASE NUMBER:                 1:21-cr-00134
                                            Defendant (s),

          Notice is hereby given that, subject to approval by the court, _M_A_RK      _ A_ _D_Y_________ substitutes
                                                                               _ _S_A H
                                                                                                          (Party (s) Name)


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Blake A. Weiner         , State Bar No.
                            (Name of New Attorney)
                                                                                                  -------
                                                                                                  94087   as counsel of record in

place of       John Kiyonaga.
                                                          (Name of Attorney (s) Withdrawing Appearance)



Contact information for new counsel is as follows:
          Firm Name:                   Blake Weiner Law, PLLC
          Address:                     1806 Summit Avenue, Suite 300, Richmond VA 23230
          Telephone:                 --'--"'-------------
                                       (804) 482-1465     Facsimile ----------------
          E-Mail (Optional):           bwein er@ bI ak ewe in erIaw .com


I consent to the above substitution.
Date:                 01/17/2023
                                                                                         � (Si;;,.rure ofPany (•))

I consent to being substituted.
Date:                           1/17/2023
                                                                                                      (Signature of Former Attorney (s))

I consent to the above substitution.
Date:                           1/17/2023                                          Blake Weiner                              Digitally signed by Blake Weiner
                                                                                                                             Date: 2023.01.1715:43:12-05'00'
                                                                                                            (Signature of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


Date:                1/31/2023
                                                                                                                       Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]
